                        UNITED STATES BANKRUPCTY COURT
                            FOR THE DISTRICT OF NEW MEXICO

  IN RE:

         Deborah Lee Santillanes and Mike Andrew Santillanes

                Debtors                                    Case No. 18-10624-ta7

     MOTION FOR RELIEF FROM STAY AND TO ABANDON PROPERTY
   LOCATED AT 6215 SWEETWATER DRIVE NW, ALBUQUERQUE, NM 87120

         Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or successors

  (“Creditor”), by and through its undersigned counsel, moves the Court for an order for

  relief from the automatic stay pursuant to 11 U.S.C. §362 of the Bankruptcy Code to

  allow Creditor, its successor and/or assigns to proceed with foreclosure of the real

  property on which Creditor holds a Note, to exercise its remedies under its Note and

  Mortgage, and pursuant to 11 U.S.C. §554(b), for an order that the property is no longer

  property of the estate.

         As grounds for its Motion, Creditor states:

         1.      On March 19, 2018, Debtors filed a Chapter 13 Bankruptcy. The case was

  subsequently converted to Chapter 7 on May 4, 2018.

         2.      Debtors are the owners of certain real property located at 6215 Sweetwater

  Drive NW, Albuquerque, NM 87120 (“Property”) and legally described as set forth in

  Exhibit “A”, which is a true and correct copy of the recorded Mortgage.

         3.      Creditor is the holder of a Promissory Note dated September 14, 2007, in

  the principal amount of $208,000.00, which is secured by the Mortgage of the same date.

  See attached Exhibit “B”, which is a true and correct copy of the Note.




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            4.        The Mortgage was duly recorded and perfected in accordance with New

  Mexico law on September 21, 2007, as Instrument No. 2007135144 in Bernalillo County,

  New Mexico. The Note and Mortgage was subsequently assigned to Creditor. See

  attached Exhibit “C”, which is a true and correct copy of the Assignment of Mortgage.

            5.         Creditor, directly or through its agent, has possession of the original Note.

            6.        The entity has the right to enforce the Note and foreclose in the name of:

  Nationstar Mortgage LLC d/b/a Mr. Cooper.

            7.        Creditor is entitled to relief from stay, as Debtors have insufficient equity

  in the Property and the Property is not needed for an effective reorganization.

            8.        As of May 23, 2018, the total approximate amount owed is $186,566.341,

  itemized as follows:

                  Unpaid Principal Balance:                                                 $            177,401.39
                  Accrued Interest as of 05/23/2018:                                        $               7,706.92
                  Escrow Advances as of 05/23/2018:                                         $                 732.64
                  Annual Rate of Interest                                                                     6.75%
                  Corporate Advances:                                                       $                 924.35
                  Suspense:                                                                 $             (1,129.96)
                  Bankruptcy Attorney Fees:                                                 $                 750.00
                  Bankruptcy Attorney Costs:                                                $                 181.00

                  Total Amount Due to Creditor                                              $            186,566.34

            9.        As of May 23, 2018, Debtors are arrears to Creditor under the Note and

  Mortgage for the regular monthly payments for a total amount of $11,478.59 as follows:




  1
    This is an approximation of the lien, including principal balance plus accrued interest, late charges, escrow shortages
  and other fees and costs, as allowed under the terms of the Mortgage. This estimate is accurate as of the date provided
  to counsel for the Creditor and is intended only for the purposes of this Motion. This amount cannot be relied upon for
  any other purposes, including payoff of the secured debt.

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               DELINQUENCIES:
               Monthly Payments:           4    at   $1,670.96         $             6,683.84
               (11/17 through 2/18)
               Monthly Payments:           3    at   $1,666.69         $             5,000.07
               (3/18 through 5/18)
               Corporate Advances:                                   $                 924.64
               Suspense:                                             $             (1,129.96)


         10.     The current value of the Property is $192,012.00 based upon the Debtor's

  own value as set forth in Debtor's Schedule A.

         11.     Upon information and belief, the Property is of inconsequential value and

  benefit to the bankruptcy estate.

         12.     Creditor is entitled to its reasonable attorney’s fees and costs in connection

  with the preparation and filing of this Motion for Relief from Stay pursuant to the terms

  of the Note and Mortgage, but only as permitted by Bankruptcy Code.

         13.     Concurrence of the Debtors to the Motion was sought on May 10, 2018.

         WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or

  successors asks the Court to enter an Order granting it relief from the automatic stay

  provided by Section 362 of the Bankruptcy Code for the purpose of allowing it to

  commence or complete foreclosure upon the Property, and for such other relief as the

  Court deems just and proper.

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         The Movant specifically requests permission from this Honorable Court to

  communicate with the Debtors and Debtors' counsel to the extent of necessary to comply

  with applicable nonbankruptcy law, and for an order abandoning the subject property,

  and requests that retain its effect and validity should this case be converted to another

  chapter of the Bankruptcy Code.

                                    McCarthy & Holthus, LLP

                              By: /s/ Daniel Grunow
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